    Case 3:08-cr-00028-MHT-WC Document 65 Filed 11/26/08 Page 1 of 3




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      3:08cr28-MHT
CURTIS BUCHANAN                    )          (WO)
a/k/a Darryl                       )


                        OPINION AND ORDER

    This cause is before the court on the government’s

unopposed motion to continue.           For the reasons set forth

below, the court finds that jury selection and trial, now

set for December 15, 2008, should be continued pursuant

to 18 U.S.C. § 3161(h)(8).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

         “In any case in which a plea of not
         guilty is entered, the trial of a
         defendant charged in an information or
         indictment with the commission of an
    Case 3:08-cr-00028-MHT-WC Document 65 Filed 11/26/08 Page 2 of 3




          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs.”

Id. § 3161(c)(1).         The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”   Id. § 3161(h)(8)(A).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Buchanan in a speedy trial.

Buchanan’s   attorney      was    recently     hospitalized       after

suffering a life-threatening injury; he is still in the

hospital. Before his injury, Buchanan’s counsel indicated

that he would be prepared to go trial on December 15, but

that is no longer possible.            Buchanan faces a lengthy

mandatory minimum sentence if convicted in this case, and

it is essential that his counsel be fully prepared for


                                  2
    Case 3:08-cr-00028-MHT-WC Document 65 Filed 11/26/08 Page 3 of 3




trial.    Indeed,     counsel     for    Buchanan     joins     in     the

continuance motion.       Therefore, the interests of justice

require that the government’s motion to continue (doc. no.

62) be granted.

    Accordingly, it is ORDERED as follows:

    (1) The government’s unopposed motion for continuance

(doc. no. 62) is granted.

    (2) The jury selection and trial, now set for December

15, 2008, are reset for February 23, 2009, at 10:00 a.m.,

at the federal courthouse in Opelika, Alabama.

    DONE, this the 26th day of November, 2008.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
